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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                -against-                               18 Cr. 567 (VSB)

 CHRISTOPHER COLLINS,
 CAMERON COLLINS, and
 STEPHEN ZARSKY,
                               Defendants.


CHRISTOPHER C. COLLINS’ EMERGENCY MOTION TO EXTEND REPORT DATE
      OR, IN THE ALTERNATIVE, FOR MODIFICATION OF SENTENCE
                    PURSUANT TO 18 U.S.C. § 3582(c)

       PLEASE TAKE NOTICE that Defendant Christopher Collins by and through his

undersigned counsel respectfully presents this emergency motion to extend his incarceration

report date from October 13, 2020 to December 8, 2020 at 2:00 pm. In the alternative, Mr.

Collins moves for a modification of his sentence pursuant to 18 U.S.C. § 3582(c).

       Mr. Collins’ age and health conditions place him at great risk of serious or life-

threatening complications should he contract COVID-19 at FPC Pensacola. As the pandemic

continues to rage in Florida, and elsewhere, and FPC Pensacola reports positive cases, Mr.

Collins’ unique status constitutes extraordinary and compelling reasons to grant this relief.

       PLEASE TAKE FURTHER NOTICE that Mr. Collins brings this motion on an

emergency basis as his current report date is less than two weeks away and, absent modification

of the same, the status quo will be irreversibly changed, and immediate irreparable injury may

occur. This motion is brought without delay upon becoming ripe for consideration by the Court

by operation of statute.

       WHEREFORE, Christopher Collins respectfully requests that the Court grant this

Motion by ordering the extension of his report date to December 8, 2020 or, in the alternative,
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modifying his sentence pursuant to 18 U.S.C. § 3582(c). This motion is made and based on this

Notice of Motion, the annexed Memorandum of Law filed concurrently in support hereof, and on

such other pleadings, records, oral and documentary evidence and arguments as may be

presented to the Court.

Respectfully submitted this 1st day of October, 2020.

                                                          /s/ Jonathan New
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